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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                           CRIMINAL NO. 2I-

              v.                                   DATE FILED: June 8.2021

MICHAEL GOLDNER                                    VIOLATION:
                                                   26 U.S.C. S 7201 (tax evasion   - 1 count)

                                         INDICTMENT

                                          COUNT ONE

THE GRAND JURY CHARGES THAT:

                                        BACKGROUND

       At all times material to this indictment:

               1.      Defendant MICHAEL GOLDNER, a resident of Malvern, Pennsylvania,

was employed by Midtown Resources, a merchant cash advance company that loaned money to

businesses that could not obtain traditional financing.

               2.      Defendant MICHAEL GOLDNER previously worked for Main Street

Business Funding, a merchant cash advance company that loaned money to businesses that could

not obtain traditional financing. Defendant GOLDNER also worked as an accountant.

               3.      From 2007 to   2}ll,   defendant MICHAEL GOLDNER raised money from

numerous individuals for various real estate projects. Defendant GOLDNER made fraudulent

misrepresentations to these individuals regarding the projects. Defendant GOLDNER also

embezzled funds entrusted to him to pay taxes on behalf of clients. As a result of this conduct,

defendant GOLDNER was charged with wire fraud and tax evasion in the Eastern District       of
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Pennsylvania (case number 15-002). On or about July 15, 2016, the defendant was sentenced to

five years' probation and ordered to pay $4,986,266.00 in restitution.

               4.         On or about January 4,2016, defendant MICHAEL GOLDNER filed tax

returns for the years 2013 and2014. These tax returns showed a total tax due of approximately

$304,115. Defendant Goldner paid a total of approximately $51,582 toward this tax assessment.

               5.         On or about March 26,2018, defendant MICHAEL GOLDNER filed a tax

retum for the year 2015. This tax returns showed a total tax due of approximately $236,217.

Defendant Goldner paid a total of approximately $11,378 toward this tax assessment.

               6.         On or about October 2g,2}l&,defendant    MICHAEL GOLDNER filed a tax

return for the year 2016. This tax retums showed a total tax due of approximately $1,294,808.

Defendant Goldner paid a total of approximately $4,407 toward this tax assessment.

               7.         On or about January 7,2019, defendant MICHAEL GOLDNER filed a tax

return for the year 2017 . This tax returns showed a total tax due of approximately $23,600.

Defendant Goldner paid a total of approximately $16,278 toward this tax assessment

                8.        As of on or about January 7,2019, defendant MICHAEL GOLDNER had a

total tax due and owing for the years 2013 -2017 of approximately $l ,858,740, not including

interest and penalties.

                9.        Beginning in or about January 2016 and continuing until at least on or about

April4,   2020 defendant    MICHAEL GOLDNER received notices from the IRS stating the amount

due for tax years 2013-2017, which notices provided payment options.

                10.       Defendant MICHAEL GOLDNER earned income from Midtown

Resources that was reported to the IRS on a Form W-2. Midtown Resources paid personal

expenses on behalf of defendant GOLDNER that were never reported to the IRS.
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               11.    Defendant MICHAEL GOLDNER did not file personal income tax returns

for the years 2018,2019, and2020.

               12.    From on or about January 4,2016 through on or about December 31,

2020, in the Eastern District of Pennsylvania, and elsewhere, defendant

                                     MICHAEL GOLDNER

willfully attempted to evade and defeat the payment of income tax due and owing by him to the

United States of America, for the calendar years 2013 -2017, by committing the following

affirmative acts, among others:

               (a) directed Midtown Resources to deposit compensation into     a bank account   in

                  his wife's name;

               (b) cashed checks written to him at the bank where the funds were held; and

               (c) arranged to have Midtown Resources pay personal expenses for him,

                   including the mortgage on the house where his family resided, rent for an

                   apartment where he resided, service for his pool, dance classes for his

                   daughter, a vacation for his family, and payments toward the restitution

                   defendant GOLDNER owed from the judgment in criminal case number l5-

                   002;

               (d) filed tax returns for the years 2016 and20l7 that failed to report

                   compensation and expenses that Midtown Resources paid on his behalf.
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         In violation of Title 26, United States Code, Section 1201.

                                              A TRUE BILL:




JENNIFER ARBITTIER WILLIAMS
ACTING UNITED STATES ATTORNEY
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   No.

   UNITED STATES DISTRICT COURT

                     Eastern District of Pennsylvania


                            Criminal Division


          THE T]NITED STATES OF AMERICA
                                        v.


                            MICHAEL GOLDNER

                             INDICTMENT

                            Counts
            26 U.S.C. S 7201 (tax evasion       - I count)




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            of
